
Green, J.
delivered the opinion of the court.
Martha Alexander, the widow of William Alexander, deceased, and her children, Silas, Samuel, James H. and Calvin H. Alexander, and her son-in-law Henry Powell, sold to the defendants the land of which their ancestor, W. Alexander, died seized and possessed of, and executed a title bond, dated 1st June, 1839, conditioned, to convey the said land to the defendants by the 25th December, 1840.
In consideration of said purchase, the defendants paid $1000, and executed their note to Martha Alexander, due 25th December, 1840, for $1000. This note has not been paid, and Martha Alexander, alone,, filed her bill against the Perrys, to enforce the contract, and to obtain a decree for the sale of the land. Such decree was made, and the land was sold by the Clerk and Master, and purchased by Samuel Alexander for forty dol*392lars. This sale was confirmed by the Chancellor, and the interest of the defendants was by a final decree vested in the purchaser. From this decree the defendants appealed.
This decree is erroneous, and must be reversed. The legal title is in the heirs of William Alexander, and they are not parties to this suit. The consequence was, that the purchaser of the land could not be substituted to the equitable -rights of the defendants, and must pay up the balance of the purchase money, and file a bill against those heirs before be can get the legal title. Hence the interest of the defendants was sacrificed for forty dollars.
The case must be reversed; the sale by the Clerk and Master set aside, and proper parties brought before the court.
